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                        UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF OKLAHOMA

   CHRISTY BAILEY, Personal Representative
                                      )
   of the Estate of Jeffrey Peterson  )
                                      )
                         Plaintiff,   )
                                      )
             v.                       )                             Case No.    CIV-20-327-SPS
                                      )
   CITY OF ADA; and OFFICER MARCUS    )
   BEALE, OFFICER JUSSELY CANADA,     )
   OFFICER MICHAEL MEEKS, and OFFICER )
   PHILLIP VOGT,                      )
                                      )
                         Defendants.  )


                                         SCHEDULING ORDER

        Having discussed with counsel their need for adequate discovery time, the complexity of the
legal issues involved herein, and their caseloads, the court enters the following agreed upon Scheduling
Order:

  1.    01/29/21      Joinder of Additional Parties or Amendments to the Pleadings
  2.    07/30/21      Exchange and File Witness List and Exhibit List
  3.    08/30/21      Discovery Completed
  4.    09/13/21      All Dispositive Motions Filed
  5.    09/13/21      Motions in Limine Filed
  6.    09/24/21      Exchange All Trial Exhibits including Demonstrative Exhibits and Requested
                      Jury Instructions
  7.    10/01/21      Agreed Pretrial Order Submitted       (Judge Shreder’s form with instructions are
                      available on the Court’s website at www.oked.uscourts.gov )
  8.    10/01/21      Agreed Jury Instructions and Proposed Voir Dire, Proposed Findings of Fact
                      and Conclusions of Law (Non-Jury), Disputed Jury Instructions (Included in
                      Trial Brief) and Trial Briefs Filed
  9.    10/08/21      PRETRIAL CONFERENCE AT 10:30 A.M.
  10.   10/19/21      TRIAL DATE: [X] JURY at 9:00 a.m.            [ ] NON-JURY at 9:00 a.m.
  11.   7-10 days     ESTIMATED TRIAL TIME.
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       IT IS THE FURTHER ORDER OF THE COURT that the parties comply with the
disclosure requirement and attendant deadlines established by Federal Rule Civil Procedure 26,
unless otherwise modified by this order.

        IT IS THE FURTHER ORDER OF THE COURT that all cases scheduled for jury trial
will be set for a settlement conference before a District Judge or Magistrate Judge.

        IT IS THE FURTHER ORDER OF THE COURT that all parties are bound by this
order, that no date will be changed except by written order of this court for good cause shown, and
sanctions will be imposed for failure to comply with the discretions of this order.

       IT IS THE FURTHER ORDER OF THE COURT that the Scheduling Conference set
12/11/2020 at 10:30 a.m. is hereby STRICKEN.

       IT IS SO ORDERED this 8th day of December, 2020.
